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                      UNITED STATES DISTRICT COURT FOR THE
                          FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
UNITED STATES                       )
                                    )
                                    )
      v.                            )                Crim. No. 1:21-cr-206-RDM
                                    )
JONATHAN MELLIS                     )
                                    )
            Defendant.              )
____________________________________)

              JOINT MOTION TO CONTINUE CHANGE OF PLEA HEARING

       Defendant Jonathan Mellis, by and through undersigned counsel, and the United States of

America, by and through its attorney, the United States Attorney for the District of Columbia,

respectfully move this Court to continue his change of plea hearing, currently scheduled for May

26, 2023, until June 5, 2023 at 9:00 AM.

       In support of this motion, counsel state the following:

       1.       Mr. Mellis is before this Court charged by Superseding Indictment with: 1) Civil

Disorder, in violation of 18 U.S.C. § 231(a)(3); 2) Obstruction of an Official Proceeding, in

violation of 18 U.S.C. §§ 1512(c)(2) and 2; 3) Assaulting, Resisting, or Impeding Certain

Officers Using a Dangerous Weapon, in violation of 18 U.S.C. §§ 111(a)(1) and (b); 4) Entering

and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon, in

violation of 18 U.S.C. §§ l752(a)(1) and (b)(l)(A); 5) Disorderly and Disruptive Conduct in a

Restricted Building or Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C.

§§ 1752(a)(2) and (b)(l)(A); 6) Impeding Ingress and Egress in a Restricted Building or Grounds

with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. §§ l 752(a)(3) and (b)(l)(A); 7)

Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous

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Weapon, in violation of 18 U.S.C. §§ l752(a)(4) and (b)(1)(A); 8) Disorderly Conduct in a

Capitol Building, in violation of 40 U.S.C § 5104(e)(2)(D); 9) Impeding Passage Through the

Capitol Grounds or Buildings, in violation of 40 U.S.C. § 5104(e)(2)(E); and 10) Act of Physical

Violence in the Capitol Grounds or Buildings, in violation of 40 U.S.C. § 5104(e)(2)(F).

       2.       On April 4, 2023, the parties appeared before this Court and set a change of plea

hearing for May 5, 2023.

       3.       The parties need additional time to finalize one (1) adjustment to the Statement of

Offense.

       4.       As such, counsel request a continuance of Mr. Mellis’ change of plea hearing for

a short period of time.

       5.       Counsel for Mr. Mellis will submit an agreement to toll the time between May 26

and June 5 under the Speedy Trial Act under separate cover.

       WHEREFORE, for the foregoing reasons, the parties jointly request that the Court

continue the change of plea hearing, currently scheduled for May 26, 2023, until June 5, 2023 at

9:00 AM.



                                                      Respectfully submitted,

                                                      ____/s/_______________________
                                                      David Benowitz
                                                      DC Bar # 451557
                                                      Counsel for Jonathan Mellis
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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 25th day of May 2023, a true copy of the foregoing Joint
Motion to Continue was served via the CM/ECF system upon all relevant parties.


                                                    ____/s/____________________
                                                    David B. Benowitz




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